IN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROL W*

   

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V .
JUSTIN cARL MOOSE = PLEA AGREEMENT

NOW COME the United States of America, by and through John
W. Stone, Jr., Acting United States Attorney for the Middle
District of North Carolina, and the defendant, JUSTIN CARL MOOSE,
in his own person and through his attorney, Walter Clinton
Holton, Jr., and state as follows:

l. The defendant, JUSTIN CARL MOOSE, is presently under
Indictment in case number l:lOCRBBS~l, which charges him with a
violation of Title 18, United States Code, Section 842(p)(2)(A)
and 844(a)(2), distributing information pertaining to the
manufacturing and use of an explosive.

2. The defendant, JUSTIN CARL MOOSE, will enter a voluntary
plea of guilty to the Indictment herein. The nature of this
charge and the elements of this charge, which must be proved by
the United States beyond a reasonable doubt before the defendant
can be found guilty thereof, have been explained to him by his
'attorney.

a. The defendant, JUSTIN CARL MOOSE, understands that
the maximum term of imprisonment provided by law for the

Indictment herein is not more than twenty years, and the maximum

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fine, for the Indictment, is $250,000, or both. The fine is
subject to the provisions of Title 18, United States Code,
Section 3571, entitled "Sentence of Fine."

b. The defendant, JUSTIN CARL MOOSE, also understands
that the Court may include as a part of the sentence, as to the
Indictment, a requirement that he be placed on a term of
supervised release of not more than three years after
imprisonment, pursuant to Title 18, United States Code, Section
3583.

c. The defendant, JUSTIN CARL MOOSE, further
understands that the sentence to be imposed upon him is within
the discretion of the sentencing Court subject to the statutory
maximum penalties set forth above. The sentencing Court is not
bound by the sentencing range prescribed by the United States
Sentencing Guidelines. Nevertheless, the sentencing Court is
required to consult the ¢uidelines and take them into account
when sentencing. In so doing, the sentencing Court will first
calculate, after making the appropriate findings of fact, the
sentencing range prescribed by the Guidelines, and then will
consider that range as well as other relevant factors set forth
in the Guidelines and those factors set forth in Title 18, United

States Code, Section 3553(a) before imposing the sentence.

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d. The defendant, JUSTIN CARL MOOSE, understands that
if he is not a citizen of the United States that entering a plea
of guilty may have adverse consequences with respect to his
immigration status. The defendant, JUSTIN CARL MOOSE,
nevertheless wishes to enter a voluntary plea of guilty
regardless of any immigration consequences his guilty plea might
entail, even if such consequence might include automatic removal
and possibly permanent exclusion from the United States.

3. By voluntarily pleading guilty to the Indictment herein,
the defendant, JUSTIN CARL MOOSE, knowingly waives and gives up
his constitutional rights to plead not guilty, to compel the
United States to prove his guilt beyond a reasonable doubt, not
to be compelled to incriminate himself, to confront and cross~
examine the witnesses against him, to have a jury or judge
determine his guilt on the evidence presented, and other
constitutional rights which attend a defendant on trial in a
criminal case.

4. The defendant, JUSTIN CARL MOOSE, is going to plead
guilty to the Indictment herein because he is, in fact, guilty
and not because of any threats or promises.

5. The extent of the plea bargaining in this case is as
follows:

a. It is further understood that if the Court

determines at the time of sentencing that the defendant, JUSTIN

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CARL MOOSE, qualifies for a 2-point decrease in the offense level
under Section BEl.l(a) of the Sentencing Guidelines and that the
offense level prior to the operation of Section 3E1.1(a) is 16 or
greater, then the United States will recommend a decrease in the
offense level by l additional level pursuant to Section BEl.l(b)
of the Sentencing Guidelines. It is further understood that the
Court is not bound by this recommendation.

6. It is further understood that the United States and the
defendant, JUSTIN CARL MOOSE, reserve the right to bring to the
Court's attention any facts deemed relevant for purposes of
sentencing.

7. The defendant, JUSTIN CARL MOOSE, further understands
and agrees that pursuant to Title 18, United States Code,

Section 3013, for any offense committed on or october ll, 1996,
the defendant shall pay an assessment to the Court $100 for each
offense to which he is pleading guilty. This payment shall be
made at the time of sentencing by cash or money order made
payable to the Clerk of the United States District Court. If the
defendant is indigent and cannot make the special assessment
payment at the time of sentencing, then the defendant agrees to
participate in the Inmate Financial Responsibility Program for
purposes of paying such special assessment.

8. No agreements, representations, or understandings have

been made between the parties in this case other than those which

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are explicitly set forth in this Plea Agreement, and none will be
entered into unless executed in writing and signed by all the
parties.

'I'his the 17 day of October, 2010.

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